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 6                        IN THE UNITED STATES DISTRICT COURT

 7                    FOR THE SOUTHERN DISTRICT OF CALIFORNIA

 8
     STRIKE 3 HOLDINGS, LLC,                       ) Case No.: 17-cv-2315-MMA-AGS
 9   Plaintiff,                                    )
10
                                                   ) [PROPOSED] ORDER
     vs.                                           )
11                                                 )
     JOHN DOE subscriber assigned                  )
12   IP address 75.80.13.105,                      )
     Defendant                                     )
13                                                 )
                                                   )
14
                                                   )
15                                                 )

16
           Strike 3 Holdings shall not disclose defendant’s name, address, telephone
17         number, email, social media username, or any other identifying
           information, other than defendant’s IP address, that it may subsequently
18
           learn. All documents including defendant’s identifying information,
19         apart from his or her IP address, shall be filed under seal, with all such
           information redacted on the public docket, unless and until the Court
20         orders otherwise and only after defendant has had an opportunity to
           challenge the disclosure of any identifying information.
21
           SO ORDERED :
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23
                                                          _________________________

24                                                        United States District Court

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     [PROPOSED] ORDER
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